         Case 4:12-cv-00064-SEH Document 1 Filed 08/27/12 Page 1 of 5

                                                                ..    -,'" "   "

                                                                ; L~ ;::: '
John M. Fitzpatrick, Esq.
BUXBAUM, DAUE & FITZPATRICK, PLLC
228 West Main, Suite A                                  2012 AUG 27 PrJ 2 20
P.O. Box 8209
Missoula, MT 59807
Telephone: (406) 327-8677
Fax No.: (406) 829-9840

Terryl T. Matt, Esq.
ATTORNEY AT LAW
210 East Main
CUt Bank, MT 59427
Telephone: (406) 873-4833
Fax No.: (406) 873-4944

Attorneys for Plaintiff




                 IN THE UNITED STATES DISTRICT COURT 


                          FOR THE DISTRICT OF MONTANA 


                              GREAT FALLS DIVISION 


KARLENE WHITFORD,                         )
                                          )        Cause No. C.\l-I~- (oL\-GF-6E\-\- R'~S
             Plaintiff,                   )
                                          )
      -vs­                                )
                                          )                COMPLAINT
UNITED STATES OF AMERICA,                 )

                                          )

             Defendant.                   )

                                          )


      Plaintiff, through her attorneys, alleges:
            Case 4:12-cv-00064-SEH Document 1 Filed 08/27/12 Page 2 of 5




       I.      Karlene Whitford is a citizen and resident of Browning, Montana.

      2.       This Court has jurisdiction over this case pursuant to the Federal Tort

Claims Act, 28 U.S.C. 2671, et seq., in that the claim arises from the Government's

conduct in providing health care services at Blackfeet Community Hospital (BCH)

in Browning, Montana.       BCH is an Indian Health Services (lHS)-funded facility

operated by the United States. The negligent acts and omissions that are the subject

of this action were committed by the Government's agents and employees while

acting within the course and scope of their employment. This Court has exclusive

jurisdiction over tort claims brought against the United States pursuant to 28 U.S.C.

§ I 346(b).

      3.       The Plaintiff's claim was filed in writing with the IHS on November 25,

20 II. The United States has not responded and more than six (6) months has elapsed.

Accordingly, Plaintiff has appropriately exhausted her administrative remedies.

      4.       The acts and omissions giving rise to this claim occurred in Glacier

County, Montana, which is within the Great Falls Division. Venue is proper in the

Great Falls Division pursuant to Local Rule 3.2(b).

      5.       On June 16,2011, John N. Withers, M.D., while and employee of

Blackfeet Community Hospital, Indian Health Services and the United States of

America, performed laproscopic gallbladder surgery on Karlene Whitford at

Blackfeet Community Hospital in Browning, Montana.
            Case 4:12-cv-00064-SEH Document 1 Filed 08/27/12 Page 3 of 5




       6.      The standard ofcare for performance ofsuch surgery is well established

and must be carefully followed to avoid needlessly injuring the patient.

       7.      Surgery conducted within the standard ofcare results in removal of the

gallbladder and most of the cystic duct, with preservation ofthe other structures of

the biliary system, including the common bile duct and common hepatic duct.

       8.      During the June 16, 20 II surgery, Dr. Withers negligently put a staple

across Karlene's common bile duct and transected her common hepatic duct just

below the bifurcation of the left and right hepatic ducts.

       9.      Although his operative report does not mention any complications, and

in fact describes procedure details that can not be accurate or true, later records retlect

that Dr. Withers knew intraoperatively that he had surgically injured Karlene's biliary

system and caused a bile leak. Despite knowing this, Dr. Withers closed and sent

Karlene to the recovery room.

       lO.     Karlene went downhill over the next two days and it appears that Dr.

Withers tried to get herto agree to let him do a re-exploration procedure in Browning.

Karlene and her family refused, and demanded she be transferred to Benefis Hospital

in Great Falls.

       II.     At Benefis, gastroenterologist Craig Brayko, M.D., performed

laproscopic exploration and identified the injuries Dr. Withers caused to Karlene's

biliary system. Because ofthe extent and complexity of the injuries caused by Dr.
           Case 4:12-cv-00064-SEH Document 1 Filed 08/27/12 Page 4 of 5



Withers, Dr. Brayko had Karlene transferred to the University ofWa.<;hingtonMedical

Center in Seattle for subspecialty care.

      12.     Karlene underwent surgery at UWMC on June 20, 2011. Dr. James Park

performed the procedure, which was complicated because of the location and extent

of injuries. Dr. Park was able to find the cut duct spewing bile into Karlene's

abdomen, which he identified as the common hepatic duct. It is unknown how,

during the course ora laproscopic cholecystectomy, Dr. Withers would have been in

the area where he cut Karlene's common hepatic duct. In any event, Dr. Park had to

connect the small stump of the common hepatic duct to a loop of her small bowel.

Unfortunately, because of the tissue injuries caused by Dr. Withers, the anastomosis

is quite tenuous.

      13.     Karlene will be at risk for the rest of her life for closure ofthe bile duct

anastomosis, which would he a life-threatening medical emergency requiring transfer

to UWMC or another specialty center for revision.

      14.     In providing surgical services to Karlene, Dr. Withers violated accepted

standards of care and was negligent. His negligence was a substantial contributing

factor in bringing about past and future harm and caused damage, harm and loss to

Karlene.

      WHEREFORE, Plaintiff seeks judgment against the Defendant as follows:

      1.      For a judgment in such amounts as shall be proven at trial;
     Case 4:12-cv-00064-SEH Document 1 Filed 08/27/12 Page 5 of 5



2.      For costs of this action;

3.      For such other relief as the Court deems just.



Dated this',t'&day of August, 2012

                     BUXBAUM, DAUE & FITZPATRICK, PLLC
                     228 West Main, Suite A
                     P.O. Box 8209
                     Missoula, MT 59807
                     Telephone: (406) 327-8677
                     Fax: (406) 829-9840
                     Attorney fRI Defendant
                                  /1
                                   I
                     By:--¥-f,f-----------­




                     ATTORNEY AT LAW
                     310 East Main
                     Cutbank, MT 59427
                     Telephone: (406) 873-4833
                     Fax: (406) 873-4944
                     Attorney for Defendant


                           /,//


                     B/~~~~               ________
                      "~
